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June 14, 2018
VIA ECF

Honorable Vanessa L. Bryant
United States District Court
District of Connecticut

Abraham Ribicoff Federal Building
United States Courthouse

450 Main Street, Annex 135
Hartford, Connecticut 06103

Re: Graduation Solutions LLC v. Acadima, LLC et al.,
D. Conn. Case N0. 17-cv-134Z (VLB)

Dear Judge Bryant:

I write on behalf of Defendant Alexander Loukaides While Loukaides’ motion to
dismiss for lack of personal jurisdiction Was pending, and before the Court has ruled on Whether
it has personal jurisdiction, Plaintiff sought to pursue discovery, including Loul<aides7
deposition For that reason, and as the Court directed on May 21, 2018, Loukaides moved for a
protective order quashing his deposition until after the Court adjudicates his pending motion to
dismiss (See Docket No. 47.)

In response to Plaintiff’s June 13, 2018 letter requesting a telephonic conference
concerning discovery (See Docket No. 54), I wish to note the following:

Plaintiff has plead no allegations let alone established a factual record, that the Court has
personal jurisdiction over Loukaides. First, Plaintiff has not alleged that Loul<aides actually
transacted any business in Connecticut. Instead, Plaintiff grounds its assertion of jurisdiction in a
single Internet message and a follow-up email that Loukaides sent to Plaintiff’ s CEO. (See
Second Amended Complaint, Docket No. 31 at 1111 46-48.); Greene v. Sha-Na-Na, 637 F. Supp.
591, 596 (D. Conn. 1986) (“[I]ndividual defendants’ October 15, 1984 telephone call, October
16, 1984 telegram, and ()ctober 22, 1984 letter, all directed to the plaintiff in Connecticut, are
insufficient to constitute the transacting of business in Connecticut.”). And Plaintiff - - a self-
descn`bed Nevada LLC “with a principal place of business in . . . Greenwich, CT” - - has failed
to allege that Loukaides committed any tortious act in Connecticut. See Robb v. Robb, 620 F.
Supp. 2d 282, 286 (D. Conn. 2009) (granting motion to dismiss for lack of personal jurisdiction

 

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because “[t]he situs of the injury is the location of the original event which caused the injury, not
the location where the resultant damages are felt by the plaintiff’).

Because Plaintiff cannot make out a prima facie case of personal jurisdiction, Plaintiff is
not entitled to any discovery, let alone merits-based discovery See Universal Trading & Inv.
CO., Inc. v. Credit Sul'sse (Guernsey) Ltd., 560 Fed. App’X 52, 56 (2d Cir. 2014) (in dismissing
complaint for lack of personal jurisdiction, “[t]he district court correctly held that appellants
failed to meet th[eir] burden [of showing their entitlement to jurisdictional discovery], and did
not err in declining to allow appellants to fish for additional grounds of jurisdiction that they had
not alleged.”). And even if Plaintiff could demonstrate a need for jurisdictional discovery, it
would be improper to depose Loukaides in Connecticut where he is a United Kingdom national
who lives in China, and has no future plans to visit the state. See Frz'edman v. SThree PLC.,
2015 WL 13628133, at *2-3 (D. Conn. July 1, 2015) (“[A]t thejurisdictional discovery phase . . .
the presumption that a defendant’s deposition will be held in the district of his residence is
particularly strong” and “[i]t is the plaintiff who is generally required to bear any reasonable
burdens of inconvenience that the action represents[.]”).

For these reasons, Loukaides respectfully submits that any further discovery-related
conferences should await the Court’s ruling on his pending motion to dismiss

Respectfully submitted,

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Jeffrey S. Bagnell

cc: All counsel of record (via ECF)

